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     1                                                   LINKS: 59, 62, 64, 66, 67, 68

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     8                    UNITED STATES DISTRICT COURT
     9                   CENTRAL DISTRICT OF CALIFORNIA
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    11   UNITED FINANCIAL CASUALTY                Case No. 2:11-CV-04766 MRP
         COMPANY, et al.,                         (MANx)
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                         Plaintiffs,
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    13        v.
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                                                  ORDER RE MOTIONS TO DISMISS
         COUNTRYWIDE FINANCIAL                    THE COMPLAINT
         CORPORATION, et al.,
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                         Defendants.
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     1         This securities action concerns residential mortgage-backed securities
     2   (“RMBS”) purchased by four plaintiffs (collectively, “Progressive” or “Plaintiffs”)
     3   in three different offerings structured and sold by fifteen defendants. Plaintiffs
     4   allege causes of action against Countrywide Financial Corporation (“CFC”),
     5   several CFC subsidiaries, CFC’s current parent companies Bank of America Corp.
     6   and NB Holdings, Corp., and several former officers and directors of the various
     7   Countrywide entities. Plaintiffs bring causes of action under the federal securities
     8   laws as well as California statutory and common law. Defendants moved to
     9   dismiss all causes of action as time-barred. Defendants rely upon Stichting
    10   Pensioenfonds ABP v. Countrywide Fin. Corp., 2011 WL 3558173 (C.D. Cal. Aug.
    11   9, 2011) (“Stichting”), another Countrywide RMBS case recently decided by this
    12   Court. Countrywide Memo at 4, ECF No. 67; Mozilo Memo at 6, ECF No. 59;
    13   Sambol Memo at 1, ECF No. 62; Spector Memo at 3, ECF No. 64; Sieracki Memo
    14   at 1, ECF No. 68. The Stichting case held that nearly identical claims,1 against
    15   identical defendants,2 filed before Progressive’s, were time-barred under both
    16   federal and California law. 2011 WL 3558173. Plaintiffs concede that “[w]hile
    17   the present case involves different plaintiffs and securities than the [Stichting]
    18   litigation, the two cases involve the same defendants, many of the same causes of
    19   action, and much of the same conduct.” Opp. at 2, ECF No. 74.
    20         Plaintiffs cite no legal authority in their Opposition, but rather state that they
    21   “respectfully disagree with the Court’s opinion . . . and believe that no claims in
    22   either [Stichting] or the present litigation are time-barred.” Opp. at 3. They further
    23   “adopt and incorporate” the arguments that Stichting raised in its opposition to the
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    25     This case involves one claim, statutory aiding and abetting under Cal. Corp.
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         Code. § 25504.1, which was not in Stichting. That claim is subject to the same
         two-year statute of limitations which required dismissal of the state law claims in
    27   Stichting.
         2
    28     The Stichting case involved defendants who are not named in this action, but
         every Defendant named in this action was named in the Stichting action.

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     1   defendants’ motions to dismiss that case. Opp. at 3. Plaintiffs therefore seem to
     2   agree with Defendants that the present case is indistinguishable from Stichting for
     3   purposes of these motions. The Court concurs in this assessment and Plaintiffs
     4   have provided no reason that the Court should reconsider or depart from its
     5   reasoning in Stichting. Accordingly, for the reasons set out in Stichting, Plaintiffs’
     6   Complaint is untimely. The Court GRANTS Defendants’ motions to dismiss the
     7   Complaint in their entirety. Dismissal is WITH PREJUDICE.
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     9         IT IS SO ORDERED.
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    11   DATED: November 16, 2011                 ___________________________
    12                                            Hon. Mariana R. Pfaelzer
    13                                            United States District Judge
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